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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     JUAN SANCHEZ MEDINA
 7
 8
 9                          IN THE UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )       No. 2:09-CR-0355 FCD
                                     )
14                  Plaintiff,       )       STIPULATION AND ORDER
                                     )       CONTINUING STATUS CONFERENCE
15        v.                         )       AND EXCLUDING TIME
                                     )
16   JUAN SANCHEZ MEDINA and         )
     BENITO CANUTO GUERRERO,         )       Date: March 15, 2010
17                                   )       Time: 10:00 a.m.
                    Defendants.      )       Judge: Hon. Frank C. Damrell, Jr.
18                                   )
     _______________________________ )
19
20         IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
21   of   America,   and    defendants,   Juan   Sanchez   Medina   and   Benito   Canuto
22   Guerrero, that the status conference scheduled for March 15, 2010, may be
23   continued to April 19, 2010, at 10:00 a.m.
24         Both parties are completing steps necessary to resolve their cases
25   under the safety valve but additional time is needed to complete review
26   and to settle other guidelines adjustments.              Also, counsel for Mr.
27   Sanchez-Medina is unavailable between March 18 and April 12, 2010.               To
28   afford additional necessary time to prepare and to assure continuity of
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 1   counsel for Mr. Sanchez-Medina, the parties agree that time under the
 2   Speedy Trial Act should be excluded from the date of this order through
 3   the status conference on April 19, 2010, pursuant to 18 U.S.C. §
 4   3161(h)(7)(A) and (B)(iv).
 5                                             Respectfully submitted,
 6                                             DANIEL J. BRODERICK
                                               Federal Defender
 7
 8   Dated:    March 9, 2010                   /s/ T. Zindel
                                               TIMOTHY ZINDEL
 9                                             Assistant Federal Defender
                                               Attorney for JUAN SANCHEZ MEDINA
10
11   Dated:    March 9, 2010                   /s/ T. Zindel for D. Koukol
                                               DAN KOUKOL
12                                             Attorney for BENITO CANUTO GUERRERO
13                                             BENJAMIN B. WAGNER
                                               United States Attorney
14
15   Dated:    March 9, 2010                   /s/ T. Zindel for T. Leras
                                               TODD LERAS
16                                             Assistant U.S. Attorney
17
18                                        O R D E R
19         The status conference is continued to April 19, 2010, at 10:00 a.m.
20   Time under the Speedy Trial Act is excluded through that date for the
21   reasons stated above and by agreement of the parties, the Court finding
22   that the ends of justice to be served by a continuance outweigh the best
23   interests of the defendant and the public in a speedy trial.
24         IT IS SO ORDERED.
25
26   Dated:    March 10, 2010
                                              _______________________________________
27                                            FRANK C. DAMRELL, JR.
                                              UNITED STATES DISTRICT JUDGE
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     Stip. & Order                             2
